     Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 1 of 13 PageID #:1305




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


EMOJI COMPANY GmbH,

        Plaintiff,
                                                     Case No.: 22-cv-3698
v.
                                                     Judge Sharon Johnson Coleman
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

        Defendants.


                           PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on EMOJI COMPANY GmbH’s Motion for a

Preliminary Injunction, and this Court having considered the evidence before it hereby GRANTS

Plaintiff’s Motion for Entry of a Preliminary Injunction in its entirety against the Defendants

identified in Schedule A attached hereto (collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

since the Defendants directly target their business activities toward consumers in the United

States, including Illinois. Specifically, Defendants are reaching out to do business with Illinois

residents by operating one or more commercial, interactive Internet Stores through which Illinois

residents can purchase products bearing infringing and/or counterfeit versions of Plaintiff’s

EMOJI Trademarks (the “EMOJI Products”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this



                                                 1
     Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 2 of 13 PageID #:1306




litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65.    Evidence submitted in support of this Motion and in support of Plaintiff’s

previously granted Motion for a Temporary Restraining Order establishes that Plaintiff has a

likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

        Specifically, Plaintiff has made a prima facie showing of trademark infringement because

(1) the EMOJI Trademarks are distinctive marks and registered with the U.S. Patent and

Trademark Office on the Principal Register as U.S. Trademark Registration Nos. 4,868,832;

5,202,078 and 5,415,510 for the EMOJI marks, (2) Defendants are not licensed or authorized to

use the EMOJI Trademarks, and (3) Defendants’ use of the EMOJI Trademarks are causing a

likelihood of confusion as to the origin or sponsorship of Defendants’ products with EMOJI

COMPANY GmbH. Furthermore, Defendants’ continued and unauthorized use of the EMOJI

Trademarks irreparably harms Plaintiff through diminished goodwill and brand confidence,

damage to Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Monetary damages

fail to address such damage and, therefore, Plaintiff has an inadequate remedy at law. Moreover,

the public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions.

        Accordingly, this Court ORDERS that:

1.      Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

        for, with, by, through, under or in active concert with them be enjoined and restrained from:

         a. using Plaintiff's EMOJI Trademarks or any confusingly similar reproductions,

            counterfeit copies or colorable imitations thereof in any manner in connection

            with the distribution, marketing, advertising, offering for sale, or sale of any


                                                     2
Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 3 of 13 PageID #:1307




        product that is not a genuine EMOJI Product or is not authorized by Plaintiff

        to be sold in connection with Plaintiff's EMOJI Trademarks;

   b.   passing off, inducing, or enabling others to sell or pass off any product as a

        genuine EMOJI Product or other product produced by Plaintiff, that is not

        Plaintiff's or is not produced under the authorization, control or supervision of

        Plaintiff and approved by Plaintiff for sale under Plaintiff's EMOJI

        Trademarks;

   c.   committing any acts calculated to cause consumers to believe that Defendants'

        products are those sold under the authorization, control or supervision of

        Plaintiff, or are sponsored by, approved by, or otherwise connected with

        Plaintiff;

   d.   further infringing Plaintiff's EMOJI Trademarks and damaging Plaintiff's

        goodwill;

   e.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be

        sold or offered for sale, and which bear Plaintiff's EMOJI Trademarks or any

        confusingly similar reproductions, counterfeit copies or colorable imitations

        thereof;

   f.   using, linking to, transferring, selling, exercising control over, or otherwise

        owning the Online Marketplace Accounts, the Defendant Domain Names, or

        any other domain name or online marketplace account that is being used to sell

        Counterfeit EMOJI Products; and


                                              3
     Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 4 of 13 PageID #:1308




        g.   operating and/or hosting websites at the Defendant Domain Names and any

             other domain names registered or operated by Defendants that are involved

             with the distribution, marketing, advertising, offering for sale, or sale of any

             product bearing Plaintiff's EMOJI Trademarks or any confusingly similar

             reproductions, counterfeit copies, or colorable imitations thereof that is not a

             genuine EMOJI Product or is not authorized by Plaintiff to be sold in

             connection with Plaintiff's EMOJI Trademarks.

2.      Each Defendant, within fourteen (14) days after receiving notice of this Order, shall serve

        upon Plaintiff a written report under oath providing: (a) their true name and physical

        address, (b) all websites and online marketplace accounts on any platform that it owns

        and/or operates (c) their financial accounts, including all PayPal.com (“PayPal”) and

        Context Logic, Inc. (“Wish”) accounts, and (d) the steps taken by that Defendant to comply

        with paragraph 1, a through g, above.

3.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, PayPal, Wish, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and

        the Public Interest Registry, within three (3) business days of receipt of this Order or prior

        to expiration of this Order, whichever date shall occur first, shall, at Plaintiff's choosing:

             a. unlock and change the registrar of record for the Defendant Domain Names

                to a registrar of Plaintiff's selection until further ordered by this Court, and

                the domain name registrars shall take any steps necessary to transfer the

                Defendant Domain Names to a registrar of Plaintiff's selection until further

                ordered by this Court; or




                                                   4
     Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 5 of 13 PageID #:1309




            b. disable the Defendant Domain Names and make them inactive and

                untransferable until further ordered by this Court.

4.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as iOffer, PayPal, Wish, social media platforms, Facebook, YouTube,

        LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts for

        the Defendant Domain Names, and domain name registrars, shall within three (3) business

        days of receipt of this Order:

            a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the

                EMOJI Trademarks, including any accounts associated with the

                Defendants listed in Schedule A;

            b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the EMOJI Trademarks; and

            c. take all steps necessary to prevent links to the Defendant Domain Names

                identified in Schedule A from displaying in search results. This includes,

                but is not limited to, removing links to the Defendant Domain Names from

                any search index.

5.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be restrained and enjoined from transferring or disposing of any

        money or other of Defendants' assets until further ordered by this Court.

6.      PayPal shall, within five (5) business days of receipt of this Order, for any

        Defendant or any of Defendants' Online Marketplace Accounts or websites:


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     Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 6 of 13 PageID #:1310




           a. Locate all accounts and funds connected to Defendants, Defendants' Online

               Marketplace Accounts or Defendants' websites, including, but not limited to, any

               PayPal accounts connected to the information listed in Schedule A hereto; and

           b. Restrain and enjoin any such accounts or funds from transferring or disposing of

               any money or other of Defendants' assets until further ordered by this Court.


7.      Wish shall, within five (5) business days of receipt of this Order, for any

        Defendant or any of Defendants' Online Marketplace Accounts or websites:

           a. Locate all accounts and funds connected to Defendants, Defendants' Online

               Marketplace Accounts or Defendants' websites, including, but not limited to, any

               Wish accounts connected to the information listed in Schedule A hereto; and

           b. Restrain and enjoin any such accounts or funds from transferring or disposing of

               any money or other of Defendants' assets until further ordered by this Court.


8.      Plaintiff may provide notice of these proceedings to Defendants, including notice

        of any future hearings and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

        electronically publishing a link to the Complaint, this Order and other relevant documents

        on a website to which the Defendant Domain Names are transferred to Plaintiff's control

        will redirect, or by sending an e-mail to the e-mail addresses identified in Schedule A

        hereto; and any e-mail addresses provided for Defendants by third parties accompanied by

        a link to the website where the above-identified documents are located. The combination

        of providing notice via electronic publication or e-mail, along with any notice that

        Defendants receive from domain name registrars and payment processors, shall constitute




                                                  6
      Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 7 of 13 PageID #:1311




         notice reasonably calculated under all circumstances to apprise Defendants of the pendency

         of the action and afford them the opportunity to present their objections.

9.       Plaintiff's Schedule A to the Complaint and the TRO is unsealed.

10.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

         the Order on two days' notice to Plaintiff or on shorter notice as set by this Court.


Dated: August 19, 2022

                                        _____________________________________
                                        Sharon Johnson Coleman
                                        U.S. District Court Judge




                                                   7
Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 8 of 13 PageID #:1312




                                SCHEDULE A

                No.   Defendant Name / Alias
                 1    fengbingbin
                 2    fengyiguang
                 3    FIREDDDD4444
                 4    Flyied
                 5    Foil balloon store
                 6    Freedom & Dream
                 7    Furrieion
                 8    Gao-Jian.hangzhou
                 9    gaozhao
                10    Gemini's Shop
                11    GGan
                12    glambitiong
                13    Gold Mountain
                14    Granboda
                15    guobiying66058
                16    guomiao
                17    Gyudanchen
                18    GZMeiYi
                19    hainihaomanihao
                20    HangHai
                21    hanghailu-erqiqu
                22    HAOGE1990
                23    hebeisongstore
                24    helejia
                25    hhllou
                26    honhhonhdedian
                27    Honlam
                28    huachenyuai
                29    hualinhuilao
                30    huanfeng
                31    huangshixiu718
                32    huliang
                33    huomiaoge
                34    hylddp
                35    Ifenty
                36    ikule
                37    ilirongrongshoping
                38    Innerrush
                39    jiaosainan
                40    CanglanzhiyA
                41    FeedingTher
                42    feiwan

                                      8
Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 9 of 13 PageID #:1313




                43   feiyuefang
                44   Feng yuxuan
                45   fengmingyue
                46   fever88
                47   fg364sdfgfdg
                48   fg36dsfdhj
                49   Fg9vnG9F
                50   fgbhbsd
                51   financial crisis
                52   finest88
                53   first touch
                54   firstfaster
                55   fjlfjljialili
                56   flavourxd
                57   floatingdream
                58   flood
                59   Flowers growing in their own homes
                60   flowupe
                61   For me
                62   forever-love5201314
                63   forlovepad
                64   fortune kids
                65   fph
                66   frdhtewfsrdwef
                67   free plus
                68   Fresh Zone
                69   frVUIzvN
                70   fuhaifeng
                71   fujuan4453
                72   fulingzhi
                73   fulinmen999
                74   fullDawn
                75   Fun international trading corporation
                76   funninggirl
                77   funnvoicey
                78   FUNNY SHOPPING DAY
                79   Fushengnan135
                80   galowtew
                81   gaodong
                82   gaoduandingzhi
                83   gaona12345
                84   gaoxiamo
                85   gaozhihongz
                86   GCKG Shop
                87   gdcgdd

                                        9
Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 10 of 13 PageID #:1314




                 88   gefhwewsgfvbg
                 89   getiTina
                 90   ghjghjgffgk
                 91   Glass
                 92   glassczx88
                 93   Global Shop
                 94   GLOBAL_WORLD0618
                 95   Globalmarket
                 96   Go.girl
                 97   GoBait
                 98   Goddess-Beauty
                 99   Gold Garden Electronic Commerce Co.,Ltd
                100   goldbless2019
                101   Golden blue jade store
                102   Golden bra
                103   Golden pleasure
                104   Golden Time Trade
                105   goldluck
                106   goldxiuhua
                107   gongjiahao
                108   Gongsimeidedian
                109   Good and beautiful
                110   good sun baby
                111   Good_time
                112   Gorgeous vintage
                113   Gottby
                114   greatshop88
                115   Green Home Patch
                116   greenalliance
                117   greenlight
                118   greenpapaya
                119   grm15224830425@163.com
                120   grodno
                121   GSDS
                122   Guangshun Department Store
                123   guangzhoushizhimingmaoyiyouxiangongsi
                124   GUI Lili
                125   GUIUGJJKIIJ
                126   GuiwenYan
                127   guiyang
                128   guoguoxi
                129   guohualilil
                130   guoruiruimei
                131   guotianliang
                132   guoxiaoqiandaguoguo

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Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 11 of 13 PageID #:1315




                133   Gyfter
                134   Hahayule fashion tees
                135   HAIBITAO
                136   haidongfashion
                137   haifeng131415
                138   haishuanmaoyi
                139   haiwei store
                140   Hamelin fun toy shop
                141   handworld2015
                142   hangxiuqin
                143   hanks777
                144   hanqiuyue
                145   Hao Trade
                146   haodental
                147   haolzshop
                148   Haoping
                149   haoying1
                150   HaoYuan
                151   Happy Balloon Kingdom
                152   happy home2017
                153   Happy_done
                154   HappyGhostsSexToys
                155   Happypotatoto
                156   Hazy Moon
                157   Head Quarters Accessories
                158   heartert
                159   Hebei Great Wall Luggage Co., Ltd
                160   hedengli
                161   hehhejfusss
                162   hele
                163   Helenshose
                164   hello716
                165   hellojewelry
                166   Hemsworth
                167   Heritage CIassic
                168   heroneo
                169   Het-sodifed
                170   HEYO Online
                171   HH168
                172   high-qulity
                173   hkshop
                174   homedecorshopping888
                175   homeland
                176   homemart
                177   Honest Jewelry

                                       11
Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 12 of 13 PageID #:1316




                178   hongfuyiren
                179   HongKong MicroPower Industry limited
                180   honglong8
                181   hongyannvzhuang
                182   hongzhou
                183   HOPELUO
                184   hotec
                185   hotgirls
                186   Housekeeping
                187   housetech
                188   houzihao
                189   Hua Chang International
                190   Hua Yaosheng flourishing business
                191   Huairong Co., Ltd
                192   huangjiamingivan
                193   huangjianbiao fashion
                194   huangws
                195   huangxiangguang2017
                196   huangxiaodan
                197   huangxiaoyong1
                198   huangxinxiaopu
                199   huashi
                200   HUAYING TECHNOLOGY CO., LTD
                201   huayushuhuayi
                202   hubei66daye
                203   hucaiyun
                204   huhongfang112233
                205   huhu689
                206   HuiBaoFS
                207   huihui dian zi
                208   huihuixiaodian588
                209   Huiyade
                210   huofenghuang888
                211   huqinjun
                212   hushion
                213   hzj_shop
                214   i7ezdf
                215   iamzpp
                216   Ilucky store
                217   importandexportsanitaryware
                218   Indore
                219   InFaye
                220   infinite collection
                221   In-Moon.Light
                222   international widget maker

                                      12
Case: 1:22-cv-03698 Document #: 35 Filed: 08/19/22 Page 13 of 13 PageID #:1317




                223   InternationalFashion588
                224   ipah 2017
                225   Is the layer of clothing
                226   iwefjewvewiq90
                227   IYOE
                228   JACKSON NANCY
                229   Jackson NancyY
                230   Jameszhuang
                231   Janeighen
                232   Janna Mall
                233   JasonSun&JaneXuan
                234   jassionmall
                235   Jayoyo
                236   JC Golf
                237   jeolinkcn
                238   jerifashion
                239   Jersy
                240   Jewelry More
                241   jewelry ocean
                242   jewelry_sale
                243   jiancedianzi333
                244   jianghongxiahad
                245   jiangjinhong
                246   jiangxi sesame Electronic Commerce Co.,Ltd
                247   jianjiansunglasses
                248   jianyingying
                249   jiaoyousuo
                250   myuknu store




                                       13
